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                                            IN THE UNITED STATES DISTRICT COURT

                                                 FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

            Plaintiff,

vs.                                                                                                  No. CIV 12-758 JP/ACT

TESLA MOTORS, INC., a Delaware
corporation,

            Defendants.

                          NOTICE OF PRETRIAL CONFERENCE AND TRIAL
            Please note that a pretrial conference is scheduled on May 23, 2013 at 10:00 a.m. at the United

States Courthouse, 421 Gold Ave. SW, Sixth Floor, Albuquerque, New Mexico. Counsel should be
prepared to discuss all pending motions at the pretrial conference. Counsel should advise Judge

Parker, in writing, if discovery deadlines are extended beyond May 23, 2013, in order that the pretrial
conference and/or trial can be vacated and reset at a later date.

            A call of the calendar is scheduled on June 27, 2013 at 11:00 a.m. at the United States

Courthouse, 421 Gold Ave. SW, Sixth Floor, Albuquerque, New Mexico. At the call of the calendar,

the parties must be prepared to address any issues that remain pending after the pretrial conference. If

trial counsel is unable to attend the call of the calendar, substitute counsel who is prepared to discuss

and give information about the trial may attend the call of the calendar.
            This matter is set for non-jury trial on a trailing calendar beginning on July 8, 2013 at 1:30 p.m.

at the United States Courthouse, 421 Gold Ave. SW, Sixth Floor, Albuquerque, New Mexico. Trial

preparation instructions can be accessed through the Court’s website at http://www.nmcourt.fed.us.


                                                                            MATTHEW J. DYKMAN, CLERK OF COURT

                                                                            __________________________________________

                                     Please direct all inquiries to:1 Debbie MacDonald, Administrative Assistant
                                                                       to Senior Judge Parker
                                                                      (505) 348-2220
                                               A true copy of this notice/order was served – via mail or
                                   electronic means – to counsel of record as they are shown on the Court’s docket.




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              To obtain daily information regarding court settings, please refer to the court calendar which can be accessed through the Court’s website at
http://www.nmcourt.fed.us.
